Case: 1:15-cv-07603 Document #: 114 Filed: 08/03/17 Page 1 of 1 PageID #:1084

                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

Tyler Dahlstrand
                                Plaintiff,
v.                                                    Case No.: 1:15−cv−07603
                                                      Honorable Manish S. Shah
FCA US LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 3, 2017:


        MINUTE entry before the Honorable Manish S. Shah: Status hearing held. For the
reasons stated in open court, defendant Nordstrom−Samson & Associates, Inc.'s motion
for summary judgment is granted. The facts in Nordstrom−Samson & Associates, Inc.'s
Rule 56.1 statement are deemed undisputed. Summary judgment is entered in favor of
Nordstrom−Samson & Associates, Inc. and it is terminated as a party to this case. Final
judgment will not be entered at this time. Nordstrom−Samson may file a motion under
Rule 54(b), if it wishes. The fact discovery deadline is extended to 9/18/17. By 9/18/17,
the parties shall file a status report with a proposed expert discovery schedule or a
proposed briefing schedule for any remaining dispositive motions. The court will enter a
responsive order including any further dates. Notices mailed. (psm, )




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